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_ Case 3:17-mC-E;Q026-LB lDocument 2-4 Filed 02/2§L17 Page Zrm°ER No. 154500/2015
.NYSCEF DOC. NO. 13 RECEIVED NYSCEF: 11/03/2016

SUPREME COURT OF THE STATE OF NEW YORK

 

COUNTY OF NEW YORK
SCOTTSDALE CAPITAL ADVISORS lndex No: 154500/2016
CORP. and JOHN l-IURRY
Plaintiff,
NOTICE ()F DISCONTINUANCE
-against- WITHOUT PRE.]UDICE

THE DEAL. LLC, WILLIAM MEAGHER
and JOHN DOES l-30

Defendants.

 

 

PLEASE TAKE NOTlCE that, whereas no responsive pleading has been served
in this action, plaintiffs Scottsdale Capital Advisors Corp. and John Hurry (each, a
“Plaintiff"’ and together the “Plaintiffs”), pursuant to CPLR § 3217(a)(l ), hereby discontinue
without prejudice all claims as filed in the above captioned action as against The Deal, LLC,
William Meagher and John Does 1-30 (each a “Defendant"' and together, the “Defendants”);

and
PLEASE TAKE FURTHER NOTICE, that Plainti\°fs otherwise specifically

reserve any and all rights as against any or all Defendants.

Dated: November 3, 2016
New York, NY
CKR LAW LLP

By: /S/Ron Levv

Aitorneysfor le'nhj§‘.`s' Sco!lsdale Cap:`!al
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